                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 WILLIS D. O’BERRY,                                                        CIVIL ACTION
     Plaintiff

 VERSUS                                                                    NO. 16-3569

 ENSCO INTERNATIONAL,                                                      SECTION: “E” (1)
 LLC, ET AL.
      Defendants

                                    ORDER AND REASONS

        Before the Court is a Motion to Dismiss filed by Defendant ENSCO plc. 1 Plaintiff

opposes ENSCO plc’s motion. 2

                                         BACKGROUND

        On April 21, 2016, Plaintiff, Willis D. O’Berry, filed his Seaman Complaint against

ENSCO International, Inc. and ENSCO plc. 3 On November 9, 2016, Plaintiff filed his first

amended complaint additionally naming ENSCO Limited and ENSCO Inc. as

Defendants. 4

        Plaintiff alleges that on or about March 17, 2015, he was a mandatory participant

in a water survival training course required by Defendants and taught by their agent,

SMTC Global. 5 This course, which Plaintiff concedes was taught ashore, included

participating in an at-sea escape from a downed helicopter and boarding life rafts.6


1 R. Doc. 6. The Motion to Dismiss was originally filed by Defendants ENSCO International, Inc. and ENSCO
plc. See id. On March 13, 2017, the Court granted Plaintiff’s Consent Motion to Dismiss ENSCO
International, Inc. without prejudice. R. Doc. 77. As a result, Record Document 6 only pertains to ENSCO
plc.
2 R. Docs. 11, 30, 52, 61.
3 R. Doc. 1.
4 R. Doc. 36. ENSCO International, Inc. and ENSCO Inc. were voluntarily dismissed. R. Doc. 77. The

remaining Defendants are ENSCO Limited and ENSCO plc. ENSCO limited filed an answer and does not
contest jurisdiction. R. Doc. 62.
5 R. Doc. 36, at 3-4.
6 R. Doc. 1, at 1.


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Plaintiff, who was then sixty-two years old, alleges he had great difficulty getting out of

the helicopter and into a life raft. 7 Plaintiff alleges that, because of his age, he should have

been but was not medically cleared for such arduous physical activity. 8 Plaintiff alleges

that while struggling to climb into a life raft from the water, he was injured when he was

grabbed at the neck by fellow participants and was roughly hauled aboard the raft. 9

Plaintiff alleges that, as a result, he suffered serious cervical neck injuries for which a

lumbar fusion operation was required. 10 Plaintiff alleges he has not been paid

maintenance and cure. 11

         On June 28, 2016, Defendant ENSCO plc filed a Rule 12 Motion to Dismiss. 12

ENSCO plc argues this Court lacks subject matter jurisdiction “as the alleged claims are

neither subject to admiralty jurisdiction nor federal question jurisdiction given that U.S.

law does not apply and the alleged incident took place onshore in Saudi Arabia.” 13 In

addition, ENSCO plc argues, “this Court lacks personal jurisdiction over the ENSCO

entities as the accident occurred overseas and only involves foreign parties who lack

sufficient minimum contacts with the United States.” 14 Next, ENSCO plc argues, “For

similar reasons, this case should also be dismissed on forum non conveniens grounds as

it would be an undue burden to force the defendants to litigate this suit in the United

States when all the activities and witnesses are located abroad.” 15 Finally, ENSCO plc

argues the Plaintiff’s Jones Act claims against it are also subject to dismissal on 12(b)(6)



7 R. Doc. 36, at 3.
8 Id. at 4
9 Id.
10 Id.
11 Id.
12 R. Doc. 6.
13 Id. at 1.
14 Id.
15 Id.


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grounds considering the Plaintiff was never employed by ENSCO plc, but rather, was

employed by a separate and distinct Cayman corporation, ENSCO Limited. 16 Plaintiff

opposed this motion on July 19, 2016. 17 Shortly thereafter, ENSCO plc filed a

supplemental brief in support of its Rule 12 motion on July 26, 2016. 18

        Following the initial filing of the motion to dismiss, the Court granted oral

argument 19 which was subsequently cancelled to allow the parties time to conduct

jurisdictional discovery. 20 After conducting jurisdictional discovery, Plaintiff filed a

supplemental memorandum in opposition on October 27, 2015. 21 As discussed above,

Plaintiff filed his amended complaint on November 9, 2016 naming ENSCO Limited and

ENSCO Inc. as Defendants. 22 On November 17, 2016, ENSCO plc filed its second

supplemental brief in support of its motion to dismiss. 23 On November 21, 2016, the Court

ordered the Defendants to file a separate memorandum clarifying whether general

personal jurisdiction exists in any jurisdiction in the United States over any of the named

Defendants in this action. 24 On November 22, 2016, the Court granted Plaintiff leave to

file his response to Defendant’s second supplemental brief. 25 On November 28, 2016,

Defendants filed their brief in response to the Court’s order. 26 In response, on December

2, 2016, Plaintiff filed a memorandum in opposition. 27 On January 23, 2017, Plaintiff filed

his   Supplemental    Memorandum       Regarding     Jurisdiction   Over   the   Individual


16 Id. at 2.
17 R. Doc. 11.
18 R. Doc. 14.
19 R. Doc. 10.
20 R. Doc. 15.
21 R. Doc.
22 R. Doc. 36.
23 R. Doc. 43.
24 R. Doc. 46.
25 R. Doc. 49.
26 R. Doc. 51.
27 R. Doc. 52.


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Defendants. 28 On January 31, 2017, the Court granted ENSCO plc leave to file its Third

Supplemental Memorandum in support of its Motion to Dismiss. 29 On March 13, 2017,

the Court granted Plaintiff’s ex parte Motion to Dismiss Defendants Ensco International,

Inc. and Ensco Inc. without prejudice. 30

                                        LEGAL STANDARD

     I.   Rule 12(b)(1)

          Federal courts are courts of limited jurisdiction; without jurisdiction conferred by

statute, they lack the power to adjudicate claims.” 31 A motion to dismiss under Federal

Rules of Civil Procedure 12(b)(1) challenges a federal court’s subject-matter jurisdiction. 32

Under Rule 12(b)(1), “[a] case is properly dismissed for lack of subject matter jurisdiction

when the court lacks the statutory or constitutional power to adjudicate the case.” 33 “Lack

of subject-matter jurisdiction may be found in the complaint alone, the complaint

supplemented by the undisputed facts as evidenced in the record, or the complaint

supplemented by the undisputed facts plus the court’s resolution of the disputed facts.” 34

“When, as here, grounds for dismissal may exist under both Rule 12(b)(1) and Rule

12(b)(6), the Court should, if necessary, dismiss only under the former without reaching

the question of failure to state a claim.” 35




28 R. Doc. 61.
29 R. Doc. 68.
30 R. Doc. 77.
31 In re FEMA Trailer Formaldehyde Products Liab. Litig. (Mississippi Plaintiffs), 668 F.3d 281, 286 (5th

Cir. 2012).
32 See Fed. R. Civ. P. 12(b)(1).
33 Home Builders Ass’n of Miss., Inc. v. City of Madison, Miss., 143 F.3d 1006, 1010 (5th Cir. 1998) (internal

quotation marks and citation omitted).
34 In re FEMA, 668 F.3d at 287.
35 Valdery v. Louisiana Workforce Comm’n, No. CIV.A. 15-01547, 2015 WL 5307390, at *1 (E.D. La. Sept.

10, 2015).

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 II.    Rule 12(b)(2)

        “Personal jurisdiction ‘is an essential element of the jurisdiction of a district court,

without which it is powerless to proceed to an adjudication.’” 36 When a non-resident

defendant challenges personal jurisdiction in a motion to dismiss, the plaintiff bears the

burden of proving that personal jurisdiction exists. 37 If the district court rules on the

motion without an evidentiary hearing, as in this case, the plaintiff need only make a

prima facie showing of personal jurisdiction. 38 In determining whether the plaintiff has

made a prima facie showing of personal jurisdiction, the district court must take the

allegations of the complaint as true, except as controverted by opposing affidavits, and all

conflicts in the facts must be resolved in favor of plaintiffs. 39 Thus, the district court may

consider matters outside the complaint, including affidavits, when determining whether

personal jurisdiction exists. 40

        To exercise personal jurisdiction over a non-resident defendant, two requirements

must be satisfied. “First, the forum state’s long-arm statute must confer personal

jurisdiction. Second, the exercise of jurisdiction must not exceed the boundaries of the

Due Process Clause of the Fourteenth Amendment.” 41 Because Louisiana’s long-arm

statute confers personal jurisdiction to the limits of constitutional due process, these two

inquiries become one and the same. 42




36 Anderson v. GlobalSantaFe Offshore Services, Inc., 924 F. Supp. 2d 738, 742 (E.D. La. 2013) (quoting

Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 583 (1999)).
37 Luv N’ Care, Ltd. v. Insta-Mix, Inc., 438 F.3d 465, 469 (5th Cir. 2006) (citing Wyatt v. Kaplan, 686 F.2d

276, 280 (5th Cir. 1982)).
38 See id.
39 Id. See also Thompson v. Chrysler Motors Corp., 755 F.2d 1162, 1165 (5th Cir. 1985).
40 Jobe v. ATR Mktg., Inc., 87 F.3d 751, 753 (5th Cir. 1996).
41 Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d 266, 270 (5th Cir. 2006) (citation omitted).
42 Luv N’ Care, 438 F.3d at 469; La. R.S. 13:3201(B).


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        The Due Process Clause of the Fourteenth Amendment “operates to limit the power

of a State to assert in personam jurisdiction over a nonresident defendant.” 43 For a court’s

exercise of personal jurisdiction over a non-resident defendant to be constitutional under

the Due Process Clause, (1) “that defendant [must have] purposefully availed himself of

the benefits and protections of the forum state by establishing ‘minimum contacts’ with

the forum state; and (2) the exercise of jurisdiction over that defendant [must] not offend

‘traditional notions of fair play and substantial justice.’” 44

        The “minimum contacts” test takes two forms, depending on the type of

jurisdiction the court seeks to exercise over the defendant: general jurisdiction or specific

jurisdiction. In addition, the Federal Rules of Civil Procedure provide for a third form of

personal jurisdiction in cases arising under federal law known as Rule 4(k)(2)

jurisdiction.

III.    Rule 12(b)(6)

        Pursuant to Federal Rule of Civil Procedure 12(b)(6), a district court may dismiss

a complaint, or any part of it, for failure to state a claim upon which relief may be granted

if the plaintiff has not set forth factual allegations in support of his claim that would entitle

him to relief. 45 “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”46

“A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct




43 Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 413–14 (1984).
44 Latshaw v. Johnston, 167 F.3d 208, 211 (5th Cir. 1999) (citation omitted).
45 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir.

2007).
46 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570).


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alleged.” 47 The court, however, does not accept as true legal conclusions or mere

conclusory statements, and “conclusory allegations or legal conclusions masquerading as

factual conclusions will not suffice to prevent a motion to dismiss.” 48 “[T]hreadbare

recitals of elements of a cause of action, supported by mere conclusory statements” or

“naked assertion[s] devoid of further factual enhancement” are not sufficient. 49

          In summary, “[f]actual allegations must be enough to raise a right to relief above

the speculative level.” 50 “[W]here the well-pleaded facts do not permit the court to infer

more than the mere possibility of misconduct, the complaint has alleged—but it has not

show[n]’—that the pleader is entitled to relief.” 51 “Dismissal is appropriate when the

complaint ‘on its face show[s] a bar to relief.’” 52

                                            ANALYSIS

     I.   Subject-Matter Jurisdiction

          In his Amended Complaint, Plaintiff asserts this Court has subject-matter

jurisdiction under the following: (1) 28 U.S.C. § 1331 federal question jurisdiction because

Plaintiff asserts a claim pursuant to the Jones Act, 46 U.S.C. § 30104, et seq.; (2)

alternatively, diversity jurisdiction, pursuant to 28 U.S.C. § 1332 (a)(1) and (2) because

the matter in controversy here exceeds the sum or value of $75,000, exclusive of interests

and costs, and is between citizens of different States and/or citizens of a foreign state; and




47 Id.
48  S. Christian Leadership Conference v. Supreme Court of the State of La., 252 F.3d 781, 786 (5th Cir.
2001) (citing Fernandez-Montes v. Allied Pilots Ass’n, 987 F.2d 278, 284 (5th Cir. 1993)).
49 Iqbal, 556 U.S. at 663, 678 (citations omitted).
50 Twombly, 550 U.S. at 555.
51 Id. (quoting Fed. R. Civ. P. 8(a)(2)).
52 Cutrer v. McMillan, 308 F. App’x 819, 820 (5th Cir. 2009) (per curiam) (quotations omitted).


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(3) alternatively, pursuant to 28 U.S.C. § 1333 original jurisdiction because Plaintiff

asserts a General Maritime law claim for maintenance and cure. 53

            a. Does the Court Have Federal Question Jurisdiction Pursuant to 28 U.S.C. §
               1331?

        In his amended complaint, Plaintiff alleges this Court has federal question subject

matter jurisdiction pursuant to 28 U.S.C. § 1331 as a result of his claim under the Jones

Act, 46 U.S.C. § 30104, et seq. 54 A claim under the Jones Act is a federal question. 55

        To establish federal question jurisdiction, a plaintiff must allege a colorable Jones

Act claim. 56 In order to allege a colorable Jones Act claim, a plaintiff must allege (1) he

was employed as a seaman connected to a vessel; (2) he was injured in the course of his

employment; and (3) his employer’s negligence caused his injury. 57

        First, it does not appear that there is any dispute that the Plaintiff was employed

as a seaman connected to a vessel. Defendants do not raise the issue in their motion to

dismiss, and it is stated that Mr. O’Berry was employed on the ENSCO 88, “a Liberian-

flagged vessel.” 58 “The test for seaman status under the Jones Act is well established in

this circuit.” 59 The worker claiming such status must establish (1) that he was assigned

permanently to, or performs a substantial part of his work on, (2) a vessel in navigation




53 R. Doc. 36, at 2.
54 Id.
55 1 THOMAS J. SCHOENBAUM, ADMIRALTY AND MARITIME LAW § 6-20 (5th ed. 2011) (internal citations

omitted). ENSCO plc argues there is no federal question jurisdiction for this Jones Act claim because it is
clear that United States law will not govern this case. See R. Doc. 6-1, at 4. ENSCO plc’s argument is based
on a choice of law analysis which is part of the inquiry for dismissal pursuant to forum non conveniens,
discussed below, and not subject-matter jurisdiction. See Robichaux v. Sunland Const., Inc., 2002 WL
31741211 (E.D. La. Dec. 5, 2002); Warn v. M/Y Maridome, 169 F.3d 625 (9th Cir. 1999); Halloway v. Pagan
River Dockside Seafood, Inc., 669 F.3d 448, 452 (4th Cir. 2012).
56 See, e.g., Halloway, 669 F.3d at 448.
57 See, e.g., id.
58 R. Doc. 6-1, at 17. (emphasis added).
59 Smith v. Odom Offshore Surveys, Inc., 791 F.2d 411, 415 (1986)


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and (3) that the capacity in which he is employed, or the duty which he performs,

contributes to the function of the vessel or the accomplishment of its mission. 60

        Second, whether or not Mr. O’Berry was injured in the course of his employment

is disputed but Plaintiff does allege he was injured during his participation “in a helicopter

underwater evacuation training course required as a condition of his employment.” 61 “A

seaman does not lose his status because he is temporarily assigned by his employer to

duties off his vessel.” 62

        Third, Plaintiff alleges he sustained his injury as a result of the negligence of SMTC,

his employer’s agent. He claims that despite his age, he had not been medically cleared

for such arduous physical training and that his injury occurred when he was carelessly

and roughly grabbed by the neck by an SMTC employee. 63 A Jones Act employer can be

held liable for the acts of its agent. 64

        Whether or not Plaintiff’s claims are supported by the facts is not the inquiry when

determining subject matter jurisdiction. 65 A federal court has subject matter jurisdiction

over a Jones Act claim so long as the plaintiff has properly “alleged each of the

elements.” 66 The Plaintiff has alleged a colorable Jones Act claim and the Court has

subject-matter jurisdiction over his Jones Act claim. As the Court has determined it has



60 See Barrett v. Chevron, U.S.A., 781 F.2d 1067, 1072-73 (5th Cir. 1986).
61 R. Doc. 36, at 3.
62 Smith, 791 F.2d at 415 (citing Guidry v. South Louisiana Contractors, Inc., 614 F.2d 337, 453 (5th Cir.

1980) (“[H]ow long a seaman’s status continues after a shoreside assignment is itself a fact question
dependent on such factors as the duration of the assignment, its relationship to the employer’s business,
whether the employee was free to accept or reject it without endangering his employment status and any
other factors relevant to the ultimate inquiry.”). See also Nunez v. Offshore Marine Contractors, Inc., 2013
WL 12106126 (S.D. Tex. Dec. 9, 2013) (denying defendant’s motion for summary judgement regarding one
of plaintiff’s Jones Act claims related to an injury that occurring during a training exercise.).
63 R. Doc. 36, at 3.
64 See Hasty v. Trans Atlas Boats, Inc., 389 F.3d 510, 513 (5th Cir. 2004) (citations omitted).
65 See Holloway, 669 F.3d 448.
66 See id. at 453.


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federal question subject-matter jurisdiction over Plaintiff’s Jones Act claim, the Court

need not determine Plaintiff’s alternatively alleged sources of subject-matter jurisdiction.

 II.    Does the Court Have Personal Jurisdiction Over ENSCO plc?

        ENSCO plc argues this suit should be dismissed pursuant to Rule 12(b)(2) of the

Federal Rules of Civil Procedure due to lack of personal jurisdiction. On July 26, 2016,

the Court cancelled the scheduled oral argument regarding ENSCO plc’s motion to

dismiss and granted the parties leave of court to conduct jurisdictional discovery. The

Court also ordered the Plaintiff to file a supplemental memorandum in response to the

ENSCO plc’s motion to dismiss by Wednesday, October 26, 2016. In his supplemental

memorandum, Plaintiff argues the Court has general and specific personal jurisdiction

over ENSCO plc and alternatively, personal jurisdiction pursuant to 4(k)(2) and (3) of the

Federal Rules of Civil Procedure.

        According to ENSCO plc, it is a foreign corporation established and operating

under the laws of the United Kingdom. 67 ENSCO plc serves as a holding and parent

company. 68 “It has no employees but various employees on other payroll companies in

the Eastern and Western Hemispheres served as officers for the company.” 69

            a. The Court Does Not Have General Jurisdiction Over ENSCO Plc

        A court may exercise general jurisdiction over a non-resident defendant when that

defendant’s contacts with the forum state are “continuous and systematic,” regardless of

whether such contacts are related to the plaintiff’s cause of action. 70 Stated differently,

“[g]eneral jurisdiction will attach, even if the act or transaction sued upon is unrelated to



67 R. Doc. 6-1, at 2.
68 R. Doc. 51, at 2.
69 Id.
70 Id. (citing Helicopteros, 466 U.S. at 413–14).


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the defendant’s contacts with the forum state, if the defendant has engaged in ‘continuous

and systematic’ activities in the forum state.” 71 In Goodyear Dunlop Tires Operations,

S.A. v. Brown, the Supreme Court explained, “for an individual, the paradigm forum for

the exercise of general jurisdiction is the individual’s domicile; for a corporation it is an

equivalent place, one in which the corporation is fairly regarded as at home.” 72 That is,

the corporation must have substantial, continuous, and systematic contacts with the

forum state so as to “render [it] essentially at home in the forum state.” 73 “It is, therefore,

incredibly difficult to establish general jurisdiction in a forum other than the place of

incorporation or principal place of business.” 74

        As stated above, it is generally “incredibly difficult to establish general jurisdiction

in a forum other than the place of incorporation or principal place of business.” 75 Plaintiff

has put forward a Daily Drilling Report dated July 30, 2013 in his response to ENSCO

plc’s second supplemental brief in support of its Rule 12 motion to dismiss. 76 This report

identifies “Ensco plc” as the Contractor of Rig No. 8506 located in the De Soto Canyon

which Plaintiff alleges is in the waters of the Eastern District of Louisiana. 77 According to

Plaintiff, “Obviously, this daily drilling report evidences ongoing, day-to-day, long term

petroleum exploration activity in the waters of the Eastern District. This is a systematic

business contact with Louisiana and the Eastern District. No other interpretation is

rationally possible.” 78


71 721 Bourbon, Inc. v. House of Auth, LLC, 140 F. Supp. 3d 586, 592 (E.D. La. 2015) (citations omitted).
72 564 U.S. 915, 924 (2011).
73 Daimler AG v. Bauman, 134 S. Ct. 746, 754 (2014) (citing Goodyear, 564 U.S. 915).
74 Monkton Ins. Servs., Ltd. v. Ritter, 768 F.3d 429, 432 (5th Cir. 2014) (citing Daimler AG, 134 S. Ct. at

760; Helicopteros, 466 U.S. at 411–12).
75 Monkton Ins. Servs., Ltd., 768 F.3d at 432 (citing Daimler AG, 134 S. Ct. at 760; Helicopteros, 466 U.S.

at 411–12).
76 R. Doc. 49-3.
77 R. Doc. 49, at 2.
78 Id.


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       To make a prima facie showing of general jurisdiction, Plaintiff must produce

evidence that affirmatively shows that ENSCO plc’s contacts with Louisiana are sufficient

to satisfy due process requirements. 79 ENSCO plc’s unrelated contacts must be so

substantial, continuous and systematic so as to render it essentially at home in

Louisiana. 80 Even assuming the allegations related to the drilling report are true, ENSCO

plc has not presented a prima facie showing that Louisiana is a place “in which [Ensco

plc] is fairly regarded as home.” 81 Given the high threshold required to show that general

jurisdiction exists over a defendant in a forum other than its place of incorporation or its

principal place of business, the Court finds the Plaintiff has failed to make a prima facie

showing of general jurisdiction. As a result, the Court does not have general jurisdiction

over ENSCO plc.

           b. The Court Does Not Have Specific Jurisdiction Over ENSCO plc

       When the defendant’s contacts are less pervasive, a court may exercise specific

jurisdiction over a non-resident defendant “in a suit arising out of or related to the

defendant’s contacts with the forum.” 82 Specific jurisdiction exists, for example, where a

non-resident defendant “has ‘purposefully directed its activities at the forum state and the

litigation results from alleged injuries that arise out of or relate to those activities.’” 83

Specific jurisdiction also exists where a non-resident defendant “purposefully avails itself

of the privilege of conducting activities within the forum State, thus invoking the benefits




79 See Alpine View Co. Ltd. v. Atlas Copco AB, 205 F.3d 208, 217 (5th Cir. 2000) (citations omitted).
80 See Id. (citations omitted); Daimler AG, 134 S. Ct. at 760.
81 See Anderson, 924 F. Supp. 2d at 744 (quoting Goodyear, 564 U.S. at 922-23).
82 Luv N’ Care, 438 F.3d at 469.
83 Panda Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 868 (5th Cir. 2001) (quoting

Alphine View Co. v. Atlas Copco A.B., 205 F.3d 208, 215 (5th Cir. 2000)).

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and protections of its laws.” 84 “The non-resident’s ‘purposeful availment’ must be such

that the defendant ‘should reasonably anticipate being haled into court’ in the forum

state.” 85 The Fifth Circuit established a three-factor analysis to guide courts in assessing

the presence of specific personal jurisdiction:

        (1) whether the defendant has minimum contacts with the forum state, i.e.,
        whether it purposely directed its activities toward the forum state or
        purposely availed itself of the privileges of conducting activities there; (2)
        whether the plaintiff's cause of action arises out of or results from the
        defendant's forum-related contacts; and (3) whether the exercise of
        personal jurisdiction is fair and reasonable. 86

        To make a prima facie showing of specific personal jurisdiction, the plaintiff need

only satisfy the first two factors. 87 “Although jurisdictional allegations must be accepted

as true, such acceptance does not automatically mean that a prima facie case for specific

jurisdiction has been presented.” 88 Establishing a prima facie case still requires the

plaintiff to show the nonresident defendant’s purposeful availment of the benefits and

protections of and minimum contacts with the forum state.” 89 A district court need not

credit conclusory allegations, even if uncontroverted. 90 A Plaintiff may be required to




84 Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985) (citing Hanson v. Denckla, 357 U.S. 235, 253

(1958)).
85 Ruston Gas Turbines, Inc. v. Donaldson Co., 9 F.3d 415, 419 (5th Cir. 1993) (quoting World-Wide

Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)).
86 Nuovo Pignone, SpA v. STORMAN ASIA M/V, 310 F.3d 374, 378 (5th Cir. 2002); Luv N’ Care, 438 F.3d

at 469.
87 Athletic Training Innovations, LLC v. eTagz, Inc., 955 F. Supp. 2d 602, 613 (E.D. La. 2013). See also 721

Bourbon, 140 F. Supp. 3d at 592–93; Luv N’ Care, 438 F.3d at 469. If the plaintiff makes a prima facie
showing, the burden of proof with respect to the third factor shifts to the defendant to “present a compelling
case that the presence of some other considerations would render jurisdiction unreasonable.”
Autogenomics, Inc. v. Oxford Gene Tech., 566 F.3d 1012, 1018–19 (Fed. Cir. 2009). See also Athletic
Training Innovations, supra, at 613.
88 Panda Brandywine Corp., 253 F.3d at 868.
89 Id. (citing Burger King, 471 U.S. at 474 (“[T]he constitutional touchstone remains whether the defendant

purposefully established ‘minimum contacts’ in the forum State.”)).
90 Id. at 869 (citing Felch v. Transportes Lar-Mex, 92 F.3d 320, 326 n.16 (5th Cir. 1996)).


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produce evidence affirmatively demonstrating the defendant’s purposeful availment of

the benefits and protections of and minimum contacts with the forum state. 91

        Although Plaintiff argues this Court has specific jurisdiction over ENSCO plc,

Plaintiff does not allege that the injuries leading to this litigation occurred here. When

that is the case, a court may have specific jurisdiction over a tort only if the plaintiff proves

that his injuries arise out of or result from the defendant’s purposefully directed activities

toward the forum state. 92 Plaintiff has failed to make a prima facie showing of specific

jurisdiction as he has not alleged any facts in any of his filings which demonstrate that (1)

ENSCO plc has minimum contacts with Louisiana or purposefully availed itself of the

privileges of conducting activities here or that (2) his cause of action arises out of or

results from ENSCO plc’s Louisiana-related contacts. The Court finds it does not have

specific jurisdiction over ENSCO plc in this matter.

            c. The Court Has Rule 4(k)(2) Jurisdiction Over ENSCO plc

        Federal Rule of Civil Procedure 4(k)(2) provides:

        For a claim that arises under federal law, serving a summons or filing a
        waiver of service establishes personal jurisdiction over a defendant if:
             (A) the defendant is not subject to jurisdiction in any state’s court of
                 general jurisdiction; and
             (B) exercising jurisdiction is consistent with the United States
                 Constitution and laws. 93

        The Rule was enacted to fill an important gap in the jurisdiction of federal courts

in cases arising under federal law:


91 Id. (“Appellants’ sole evidence is their state court petition, which alleges ‘on information and belief’ that

Appellee knew Appellants are Texas residents and knew its actions would intentionally cause harm in
Appellants in Texas. Appellants present no other evidence of Appellee’s contacts with Texas relating to
Appellants’ claims, and thus the district court properly concluded that the allegations are merely
conclusory.”).
92 Anderson, 924 F. Supp. 2d at 745 (citing Clark v. Moran Towing & Transp. Co., Inc., 738 F. Supp. 1023

(E.D. La. 1990)).
93 Fed. R. Civ. P. 4(k)(2). Service was made upon ENSCO plc through personal service on three of its Senior

Vice Presidents. See R. Docs. 25, 26, 27.

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        Thus, there was a gap in the courts’ jurisdiction: while a defendant may have
        sufficient contacts with the United States as a whole to satisfy due process
        concerns, if she had insufficient contacts with any single state; she would
        not be amendable to service by a federal court sitting in that state . . . Rule
        4(k)(2) was adopted in response to this problem of a gap in the courts’
        jurisdiction . . . 94

        “The Fifth Circuit has adopted the burden-shifting framework adopted by the

United State Court of Appeals for the Seventh Circuit.” 95 Under this framework:

        The Plaintiff must make a prima facie case that the rule applies by “showing
        (1) that the claim asserted arises under federal law, (2) that personal
        jurisdiction is not available under any situation-specific federal statue, and
        (3) that the putative defendant’s contacts with the nation as a whole suffice
        to satisfy the applicable constitutional requirements. Additionally, the
        plaintiff must certify that, based on the information that is readily available
        to the plaintiff and his counsel, the defendant is not subject to suit in the
        courts of general jurisdiction of any state. Once plaintiff has made a prima
        facie case, then the burden shifts to the defendant to produce evidence that
        demonstrates that it is subject to jurisdiction in another state and/or that it
        has insufficient contacts with the United States as a whole. 96

        The Fifth Circuit has concluded that cases falling under a federal court’s admiralty

jurisdiction are “claim[s] arising under federal law” for the purpose of Rule 4(k)(2). 97

Therefore, Rule 4(k)(2) applies in the present case if Plaintiff O’Berry can demonstrate

that “(1) the defendant in question is not subject to the general jurisdiction of any other

state, and (2) that exercising jurisdiction is consistent with the due process clause of the

Fifth Amendment, meaning that the defendant has sufficient minimum contacts with the

United States as a whole.” 98 “The Fifth Circuit has held that a ‘piecemeal analysis of the

existence vel non of jurisdiction in all fifty states is not necessary. Rather, so long as a



94 Adams v. Unione Mediterranea Di Sicurta, 364 F.3d 646, 650-51 (5th Cir. 2004) (quoting World Tanker
Carriers Corp. v. M/V Ya Mawlaya, 99 F.3d 717, 721-22 (5th Cir. 1996)).
95 Johnson v. PPI Technology Services, L.P., 926 F. Supp. 2d 873, 882-83 (E.D. La. 2013) (citing ISI Int’l

Inc. v. Borden Ladner Gervais LLP, 226 F.3d 648 (7th Cir. 2001)).
96 Id. at 883 (citing United States v. Swiss American Bank, Ltd., 191 F.3d 30, at 41 (1st Cir. 1999)).
97 See World Tanker Carriers Corp., 99 F.3d at 723.
98 Johnson, 926 F. Supp. 2d at 882 (E.D. La. 2013) (citing Adams v. 364 F.3d at 651).


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defendant does not concede jurisdiction in another state, a court may use 4(k)(2) to confer

jurisdiction.’” 99 “If . . . the defendant contends that he cannot be sued in the forum state

and refuses to identify any other where suit is possible, then the federal court is entitled

to use Rule 4(k)(2).” 100

        On November 21, 2016, the Court issued its Order requiring all named Defendants

to file a separate memorandum clarifying whether general jurisdiction exists in any

jurisdiction in the United States over each of the named Defendants. 101 ENSCO plc did

not fully respond to the Court’s Order, and instead, merely provided a historical account

of ENSCO’s evolving corporate structure, adding, “There is no subject matter or personal

jurisdiction over [ENSCO plc] in the Eastern District of Louisiana.” 102 However, in its

Third Supplemental Brief in Support of its Motion to Dismiss, ENSCO plc represents, “In

this case, there is no basis for jurisdiction in any specific District Court because [it does]

not have any contact with the United States and [is a] foreign corporation[] that

maintain[s] all of [its] activities overseas.” 103 This is sufficient to show that ENSCO plc

has not conceded it is subject to the general jurisdiction of any state.

       ENSCO plc argues its contacts with the United States are insignificant and therefore

are not sufficient to demonstrate that exercising jurisdiction over ENSCO plc is consistent

with the due process clause of the Fifth Amendment. 104 Plaintiff, however, has


99 Ogden v. GlobalSantaFe Offshore Services, 31 F. Supp. 3d 832, 839-40 (E.D. La. 2014) (quoting Adams,
364 F.3d at 651).
100 Id. at 840. See also, Johnson, 926 F. Supp. 2d at 884-85. In Johnson, the defendant argued it should not

be required to stipulate to jurisdiction in some other forum as a result of its denial of jurisdiction in the
court hearing its motion to dismiss. Id. at 884. The Johnson court, rejecting defendant GSF’s argument,
stated, “Unfortunately for GSF, that is exactly what the Fifth Circuit has stated that Rule 4(k)(2) requires it
to do.” Id. The Johnson court also explained, “Moreover, this Court has given Defendants ample
opportunity to make such an assertion and, yet, Defendants have refused to do so.” Id.
101 R. Doc. 46.
102 R. Doc. 51, at 4.
103 R. Doc. 68, at 2.
104 R. Doc. 43, at 8-9 (citing Porina v. Marward Shipping Co., 521 F.3d 122 (2d Cir. 2008)).


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demonstrated that ENSCO plc has sufficient minimum contacts with the United States as

a whole. Plaintiff points out that ENSCO plc “maintains a U.S.-based western hemisphere

operational headquarters in Houston which is staffed by three Senior Vice Presidents and

apparently Senior Legal Counsel (i.e., personnel).”105 In his deposition, Christian Ochoa,

Ensco, Inc.’s Director of Tax, stated that one of ENSCO plc’s “operational headquarters”

is in Houston. 106 Ochoa also acknowledged that ENSCO plc’s (1) Senior Vice President for

Western Hemisphere Activities, Gilles Luca; (2) Vice President for Human Resources,

Maria Silvia; and (3) Senior Vice President for Technical Matters, John Knowlton, all have

offices in Houston, Texas. 107 Additionally, Ochoa stated that Steve Brady, who was

previously Senior Vice President, Western Hemisphere, and is now Senior Vice President,

Eastern Hemisphere, was based in Houston before being relocated to London as a result

of his promotion. 108

        The Court finds that ENSCO plc has sufficient contacts with the United States as a

whole such that exercising jurisdiction over ENSCO plc pursuant to Rule 4(k)(2) of the

Federal Rules of Civil Procedure does not exceed the boundaries of the due process clause

of the Fourteenth Amendment. 109

III.    ENSCO plc’s Motion to Dismiss on the Basis of Forum Non Conveniens

        In its Motion to Dismiss, ENSCO plc argues the Plaintiff’s claims should be

dismissed on the basis of forum non conveniens. 110 ENSCO plc argues the Court should




105 R. Doc. 49, at 8 (emphasis in original).
106 R. Doc. 30-3, at 5.
107 R. Doc. 30-3, at 4.
108 Id.
109 Given that Louisiana’s long-arm statute confers personal jurisdiction to the limits of constitutional due

process, the Court need not further inquire as to whether its exercise of personal jurisdiction over ENSCO
plc would violate Louisiana law. See Luv N’ Care, 438 F.3d at 469; La. R.S. 13:3201(B).
110 R. Doc. 6-1, at 12.


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inquire whether U.S. or foreign law applies and, if foreign law applies, “Whether another

adequate forum is available where all defendants are amenable to process.” 111 ENSCO plc

argues that an application of the Lauritzen-Rhoditis factors indicate that either British or

Saudi Arabian law should govern this lawsuit and that it is amenable to suit in either the

United Kingdom, Cayman Islands or Saudi Arabia. 112

        In Gonzalez v. Naviera Neptuno A.A., the Fifth Circuit explained, “Although the

plaintiff’s choice of forum should not ordinarily be disturbed, the doctrine of forum non

conveniens permits a court to resist imposition upon its jurisdiction even when subject

matter jurisdiction is conferred by statute or personal jurisdiction is conferred by

minimum contacts or consent.” 113 In determining whether a particular forum is

appropriate, the court is required to balance the private interests of the litigants as well

as the public interest of the chosen forum. 114 The private interests to be considered

include: (i) relative ease of access to sources of proof; (ii) availability of compulsory

process for attendance of unwilling, and the cost of obtaining attendance of willing,

witnesses; (iii) possibility of view of premises, if a view would be appropriate to the action;

(iv) all other practical problems that make trial of a case easy, expeditious and

inexpensive; and (v) enforceability of a judgment if one is obtained. 115 The public interest

factors include: (i) the administrative difficulties flowing from court congestion; (ii) the

local interest in having localized controversies resolved at home; (iii) the interest in

having the trial of a case in a forum that is familiar with the law that governs the action;

(iv) the avoidance of unnecessary problems and conflicts of law, or an application of


111 Id. (citations omitted).
112 Id. at 12-13.
113 832 F.2d 876, 878 (5th Cir. 1987) (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947)).
114 Id.
115 Id. (citing Gilbert, 330 U.S. at 508).


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foreign law; and (v) the unfairness of burdening citizens in an unrelated forum with jury

duty. 116

        In its Motion to Dismiss, ENSCO plc argues, “In assessing forum non conveniens,

the court must first decide whether U.S. law or foreign law applies.” 117 The Fifth Circuit

previously applied a “’two-prong admiralty forum non conveniens analysis’ which

required that the district court determine the choice of law before addressing the issue of

forum non conveniens.” 118 “However, this is no longer binding law within the Fifth Circuit

as Vaz Borralho was expressly overruled on this very issue.” 119 “Courts no longer use a

modified forum non convenience [sic] analysis in any cases, including those arising under

the Jones Act and involving general maritime law. Now, choice of law is just one of the

many considerations in the forum non conveniens analysis and alone is not

determinative.” 120

        The Fifth Circuit has explained that “[i]n deciding whether to dismiss a case for

forum non conveniens, the district court must first determine whether an adequate

alternative forum is available.” 121 “If an alternative forum is both adequate and available,

the district court must then weigh the various private and public factors to determine

whether dismissal is warranted.” 122 “Ultimately, the inquiry is where the trial will best

serve the convenience of the parties and the interests of justice.” 123 “A plaintiff’s choice of



116 Id. (citing Gilbert, 330 U.S. at 510; In re Air Crash Disaster Near New Orleans, La. On July 9, 1982, 821
F.2d 1147, 1162-63 (5th Cir. 1987)).
117 R. Doc. 6-1, at 12 (citing Volyrakis v. M/V ISABELLE, 668 F.2d 863 (5th Cir. 1982)).
118 Layson v. Baffin Investments, Ltd., 2015 WL 5559886, at *3 (M.D. La. Sept. 18, 2015) (quoting Vaz

Borralho, et al. v. Keydril Co., et al., 696 F.2d 379 (5th Cir. 1983)).
119 Id. (citing In re: Air Crash, 821 F.2d at 1163).
120 Id. (citations omitted).
121 O’Keefe v. Noble Drilling Corp., 347 F. App’x 27, 31 (5th Cir. 2009) (citing In re: Air Crash, 821 F.2d at

1165)).
122 Id. (citing In re: Air Crash, 821 F.2d at 1165)
123 Id. (citing DTEX, LLC, v. BBVA Bancomer, S.A., 508 F.3d 785, 794 (5th Cir. 2007)).


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forum is not conclusive, and ‘a foreign plaintiff’s selection of an American forum deserves

less deference than an American citizen’s selection of his home forum.’” 124 “The

Defendant has the burden of proof on all elements.” 125 In In re: Air Crash, the Fifth

Circuit explained:

        This burden of persuasion runs to all the elements of the forum non
        conveniens analysis. Therefore, the moving defendant must establish that
        an adequate and available forum exists as to all defendants if there are
        several. If the moving defendant carries this initial burden, it must also
        establish that the private and public interests weigh heavily on the side of
        trial in the foreign forum. The Supreme Court had held that a moving
        defendant need not submit overly detailed affidavits to carry its burden, but
        it “must provide enough information to enable the district court to balance
        the parties interests.” 126

        Defendant does not argue another forum is necessarily more convenient, but

instead, argues it is amenable to suit in either the United Kingdom, Cayman Islands or

Saudi Arabia based largely on an argument rooted in a choice-of-law analysis. 127 Further,

the Defendant provides little to no support for its argument that the public and private

factors favor litigating this case in either of the three identified alternative forums abroad.

Having considered the presumptions that (1) plaintiff’s choice of forum should not

ordinarily be disturbed and (2) an American citizen’s selection of his home forum

deserves more deference than a foreign plaintiff’s selection as an American forum, in

addition to the fact that the burden of proving forum non conveniens falls on the

Defendant, the Court finds ENSCO plc has not met its burden of proof. ENSCO plc’s

motion to dismiss on the basis of forum non conveniens is denied.

IV.     Has Plaintiff Stated a Viable Claim Against ENSCO plc?



124 Id. (citing In re: Air Crash, 821 F.2d at 1164).
125 Id. (citing DTEX, LLC, 508 F.3d at 794).
126 In re: Air Crash, 821 F.2d at 1164-65 (citing Piper Aircraft Co. v. Reyno, 454 U.S. 235, 258 (1981)).
127 Id. at 12-13.


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        ENSCO plc contends that beyond jurisdiction and venue, the Plaintiff’s Jones Act

and General Maritime claims against ENSCO plc are also subject to dismissal on 12(b)(6)

grounds considering the Plaintiff was never employed by ENSCO plc, but rather, was

employed by a separate and distinct Cayman corporation, co-Defendant ENSCO

Limited. 128

        “A Jones Act lawsuit may be properly filed only against the seaman’s employer.” 129

Courts have held, however that “’the existence of . . . an employer/employee relationship

must be determined under maritime law’ and that ‘resolution of the issue is normally a

factual one within the province of a jury.’” 130

        As the Fifth Circuit has explained, “A Jones Act claim also requires proof of an

employment relationship either with the owner of the vessel or with some other employer

who assigns the work to a task creating a vessel connection, for ‘(b)y the express terms of

the Jones Act an employer-employee relationship is essential to recovery.’” 131 “In

determining who is an employer for recovery under the Jones Act, control is the critical

inquiry.” 132 “The Fifth Circuit has established that the ‘factors indicating control over an

employee include payment, direction, and supervision of the employee include payment,

direction, and supervision of the employee. Also relevant is the source of the power to hire



128 R. Doc. 6, at 2. To the extent ENSCO plc challenges whether the Eastern District of Louisiana is a proper
venue, the Court finds that its finding of 4(k)(2) personal jurisdiction satisfies this matter. Although the
Court is cognizant that the question of venue is distinct from the question of personal jurisdiction, Rule
4(k)(2) essentially establishes proper venue through its rule that a foreign defendant may be sued in any
district when the defendant has sufficient contacts with the United States as a whole. See Johnson, 926 F.
Supp. 2d. at 883 n.10. See also, ISI Intern., Inc. v. Borden Ladner Gervais LLP, 256 F.3d 548, 552-53 (7th
Cir. 2001); Allied Van Lines, Inc. v. Beaman, 2008 WL 4866052, at *2 n.1 (N.D. Ill. July 21, 2008).
129 1 THOMAS J. SCHOENBAUM, ADMIRALTY AND MARITIME LAW § 6-23 (5th ed. 2011) (internal citations

omitted).
130 Holloway v. Pagan River Dockside Seafood, Inc., 669 F.3d 448, 453 (quoting Wheatly v. Gladden, 660

F.2d 1024, 1026 (4th Cir. 1981)).
131 Guidry v. South Louisiana Contractors, Inc., 614 F.2d 447, 452 (5th Cir. 1980) (quoting Spinks v.

Chevron Oil Co., 507 F.2d 216, 224 (5th Cir. 1975)).
132 Cordova v. Crowley Marine Servs., 2003 U.S. Dist. LEXIS 13567, at *7 (E.D. La. July 29, 2003).


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and fire.’” 133 “Further, the Fifth Circuit has reasoned that ‘the control which is exercised

must be substantial; the mere possibility of some control over the actions of an employee

will not suffice to define an employer-employee relationship.’” 134

        It is undisputed that Plaintiff was employed by ENSCO Limited. 135 Plaintiff,

however, maintains that he was also the concurrent employee of, or the borrowed

employee of ENSCO plc. 136 In his Second Supplemental Memorandum in Opposition to

Defendant’s Motion to Dismiss, oppositions to ENSCO plc’s motion to dismiss, Plaintiff

argues ENSCO plc:

        Uses ‘separate’ but wholly-owned direct and indirect subsidiaries as if they
        were departments. One subsidiary (Ensco International, Inc.) provides
        insurance benefits regardless where a U.S. citizen employee is assigned, and
        another (Ensco, Inc.) provides human resources and payroll services
        regardless of where the U.S. citizen employee is assigned. And U.S. citizen
        employees like Mr. O’Berry are paper-transferred between Ensco Offshore
        Company (Gulf of Mexico) and Ensco Limited (overseas). 137

The Court construes these new factual allegations in Plaintiff's opposition memorandum

as a motion to file an amended complaint. 138 Rule 15(a) "requires the trial court to grant

leave to amend freely, and the language of this rule evinces a bias in favor of granting

leave to amend." 139 A district court must possess a "substantial reason" to deny a motion




133 Id. (quoting Volyrakis v. M/V Isabelle, 668 F.2d 863, 866 (5th Cir. 1982)).
134 Id.
135 R. Doc. 36, at 2.
136 Id.
137 R. Doc. 52, at 3.
138 See Morin v. Moore, 309 F.3d 316, 323 (5th Cir. 2002) ("This Court has held, that in the interest of

justice a revised theory of the case set forth in the plaintiff's opposition should be construed as a motion to
amend the pleadings filed out of time and granted by the district court pursuant to the permissive command
of Rule 15.") (citing Sherman v. Hallbauer, 455 F.2d 1236, 1241 (5th Cir. 1972)); Stover v. Hattiesburg Pub.
Sch. Dist., 549 F.3d 985, 989 n.2 (5th Cir. 2008) (citing with approval cases in which the district court
construed new allegations in opposition memorandum as motion to amend under Rule 15(a)).
139 Lyn-Lea Travel Corp. v. Am. Airlines, Inc., 283 F.3d 282, 286 (5th Cir. 2002) (internal quotation marks

omitted).

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under Rule 15(a). 140 No such reason exists in this case. The Court will allow Plaintiff an

opportunity to amend his complaint.


                                          CONCLUSION

        For the foregoing reasons;

        IT IS ORDERED that ENSCO plc’s Motion to Dismiss is DENIED to the extent

it seeks dismissal of Plaintiff’s claims pursuant to Rule 12(b)(1), Rule 12(b)(2) of the

Federal Rules of Civil Procedure and forum non conveniens.

        IT IS FURTHER ORDERED that Plaintiff is granted leave to amend his

complaint to address the arguments raised in ENSCO plc’s Rule 12(b)(6) motion to

dismiss on or before Thursday, March 30, 2017. If Plaintiff timely files his second

amended complaint, Defendant’s Rule 12(b)(6) Motion to Dismiss 141 will be dismissed

without prejudice as moot. ENSCO plc will be free to re-urge its motion to dismiss in a

timely fashion after Plaintiff’s second amended complaint is filed.

        New Orleans, Louisiana, this 20th day of March, 2017.


                        _____________ _______ _ _______
                                 SUSIE MORGAN
                          UNITED STATES DISTRICT JUDGE




140 Smith v. EMC Corp., 393 F.3d 590, 595 (5th Cir. 2004). In deciding whether to grant leave under Rule
15(a), courts may consider factors such as "undue delay, bad faith or dilatory motive on the part of the
movant, repeated failures to cure deficiencies by amendments previously allowed, undue prejudice to the
opposing party by virtue of allowance of the amendment, and futility of the amendment." Jones v. Robinson
Prop. Grp., LP, 427 F.3d 987, 994 (5th Cir. 2005).
141 R. Doc. 6.


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